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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 United States of America,
                                                       Case No. 11-20699
           Plaintiff,
                                                       Honorable Nancy G. Edmunds
 v.

 Leo Earl Sharp et al.,

           Defendants.
                                          /


 OPINION AND ORDER NOTING WITHDRAWAL OF MOTIONS TO SEVER [171, 175,
  182], DENYING DEFENDANT CZACH'S MOTION TO DISMISS COUNT THREE OF
 THE SUPERCEDING INDICTMENT WITH RESPECT TO HEROIN AND MARIJUANA
  [168], NOTING WITHDRAWAL OF DEFENDANT KENNETH DWAYNE JENKINS'S
 MOTION TO DISMISS COUNT THREE FOR FAILING TO ALLEGE THE OFFENSES
      WITH SPECIFICITY AND COUNT SIXTEEN [164], DENYING DEFENDANT
  THEODORE CZACH'S MOTION FOR BILL OF PARTICULARS [169], HOLDING IN
   ABEYANCE DEFENDANT CZACH'S MOTION TO COMPEL NON-DESTRUCTIVE
 EXPERT ANALYSIS OF EXHIBIT N-93 [252], AND ORDERING THE GOVERNMENT
  TO PRODUCE THE DATES DEFENDANT REYMOYNE THORNTON JOINED THE
                        COUNT THREE CONSPIRACY

      On August 22, 2013, the Court held a hearing on Defendants's various motions in

 limine.

      At the hearing, Defendants withdrew all pending motions to sever and joinders in

 those motions. (Dkt. 167, 171, 175, 182, 183.) Also at the hearing, the parties represented

 that they desired to hold Defendant Theodore Czach's motion to compel non-destructive

 expert analysis of Exhibit N-93 in abeyance. (Dkt. 252.) The Court therefore HOLDS IN

 ABEYANCE that motion.

      The Court then heard Defendants' arguments on their motions to dismiss and motions

 for bills of particulars. The Court denied those motions, save for the parties agreeing that
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 the Government would provide the dates that Defendant Thornton allegedly joined the

 conspiracy. The Government agreed to provide that information by August 30, 2013. At

 the hearing, and also on the record, Defendant Jenkins withdrew his motion to dismiss

 count three and count sixteen of the superseceding indictment. (Dkt. 164.)

         The Court discusses more fully its reasoning for denying the motions to dismiss and

 motions for bills of particular.

         Defendant Czach filed a motion to dismiss Count Three of the Second Superseding

 Indictment as it relates to the conspiracy to possess with intent to distribute and distribution

 of heroin and marijuana for failure to allege the offense with specificity.1 Defendant Czach

 argues that the SSI is arguably facially sufficient in terms of the allegations relating to

 cocaine, but insufficient as to the claims regarding marijuana and heroin. (Czach’s Mot.

 to Dismiss at 1.)

         Count Three provides:

          From in and at least sometime in 2008, the exact date being unknown to the
          Grand Jury, and continuously thereafter up through and including February
          26, 2012, in the Eastern District of Michigan, Southern Division, and
          elsewhere, [Defendants] and others, known and unknown to the grand jury,
          did knowingly, intentionally, and unlawfully combine, conspire, confederate,
          and agree to commit an offense against the United States, that is, to possess
          with intent to distribute, and to distribute controlled substances, specifically
          one thousand (1,000) kilograms or more of a mixture or substance containing
          a detectable amount of marijuana, a Schedule I controlled substance, five (5)
          kilograms or more of a mixture or substance containing a detectable amount
          of cocaine, a Schedule II controlled substance, and one (1) kilogram or more
          of a mixture or substance containing a detectable amount of heroin, a
          Schedule I controlled substance, in violation of Title 21, United States Code,


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        Joinders:
           D-13, David Felix Jurado [174]
           D-01 Leo Sharp [178]
           D-18, Marin Najjar [180]

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      Sections 842(a)(1), 841(b)(1)(A)(I), 841(b)(1)(A)(ii)(II), 841(b)(1)(A)(vii), and
      846.

      It is further part of the conspiracy that:
      1. It was part of the conspiracy that, Jose Roberto Lucero-Bustamante and
      Armando Dias-Lucero lead a drug trafficking organization responsible for the
      shipment and distribution of marijuana, cocaine, and heroin on a regular
      basis from Mexico to Michigan. This organization is a part of the Joquin
      Guzman LOREA a.k.a. “Chap” GUZMAN Sinaloa Cartel based in Sinaloa,
      Mexico. The organization distributed thousands of kilograms of marijuana,
      over a thousand kilograms of cocaine, and kilogram-sized quantities of heroin
      in the Detroit metropolitan area from July 2008-2011.

      2. It was further part of the conspiracy that Pedro Delgado-Sanchez acted
      as a middle man between Lucero-Bustamante and Dias-Lucero in Mexico
      and Theodore Czach in Michigan for shipments of cocaine. Delgado-
      Sanchez would coordinate with Octavio Humberto Gamez to find couriers to
      bring the shipments of cocaine from the southwest border region of the
      United States to Michigan.

      3. It was further part of the conspiracy that Leo Earl Sharp, Mark George
      Bailey, Walter Ogden, Tamara Lynn Bond-Ogden, and others, known and
      unknown to the grand jury, acted as couriers for the organization transporting
      cocaine and money between co-conspirators.

      4. It was further part of the conspiracy that Alejandro Vargas, Antonio
      Simmons, Nicholas Dominick Simmons, Kenneth Dwayne Jenkins, David
      Felix Juarado, and Reymoyne Thorton would obtain multi-kilogram quantities
      of marijuana and cocaine for further distribution and sale.

      5. During the life of the conspiracy, Jose Roberto Lucero-Bustamante, Pedro
      Delgado-Sanchez, and Octavio Humberto Gamez and other conspirators,
      aiding and abetting each other, possessed cocaine with the intent to
      distribute on a continuing basis. Some of these transactions include the
      following:

        A. Between 2009 and the end of 2011, Leo Sharp has delivered
           approximately 670 kilograms of cocaine to conspirators in Michigan.

        B. In 2011, Mark George Bailey delivered approximately 185 kilograms of
           cocaine to conspirators in Michigan.

        C. In July 2011, Walter Ogden and Tamara Lynn Bond-Ogden delivered
           approximately 200 kilograms of cocaine to conspirators in Michigan.


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          D. When larger loads of cocaine were not available to be delivered to
             Michigan, Oscar Martinez would travel to Chicago to pick up kilogram-
             sized quantities of cocaine from this organization.


      The Government combines its responses to the motions to dismiss and for bills of

 particulars. (Dkt. 185.)

      The Government first argues that Count Three of the indictment is constitutionally

 sufficient–it tracks the statutory language of the offense charged, provides Defendants with

 notice of the elements that the Government must prove at trial, and gives Defendants

 sufficient information that “enables [them] to plead an acquittal or conviction in bar of future

 prosecutions for the same offense.” (Gov’t’s Resp. at 2, quoting Hamling v. United States,

 418 U.S. 87, 117 (1974)).

      The Court agrees with the Government, the indictment is constitutionally sufficient.

 Federal Rule of Criminal Procedure 7(c)(1) provides:

        The indictment or information must be a plain, concise, and definite written
        statement of the essential facts constituting the offense charged . . . . It need
        not contain a formal introduction or conclusion. . . . A count may allege that
        the means by which the defendant committed the offense are unknown or
        that the defendant committed it by one or more specified means. For each
        count, the indictment or information must give the official or customary
        citation of the statute, rule, regulation, or other provision of law that the
        defendant is alleged to have violated[.]

      “[A]n indictment is sufficient if it, first, contains the elements of the offense charged

 and fairly informs a defendant of the charge against which he must defend, and, second,

 enables him to plead an acquittal or conviction in bar of future prosecutions for the same

 offense.” Hamling v. United States, 418 U.S. 87, 117 (1974). “It is generally sufficient that

 an indictment set forth the offense in the words of the statute itself, as long as ‘those words

 of themselves fully, directly, and expressly, without any uncertainty or ambiguity, set forth

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 all the elements necessary to constitute the offense intended to be punished.’” Id. (citation

 omitted). See United States v. Branan, 457 F.2d 1062, 1064 (6th Cir. 1972) (“It is well

 settled that in an indictment for conspiring to commit an offense-in which the conspiracy is

 the gist of the crime-it is not necessary to allege with technical precision all the elements

 essential to the commission of the offense which is the object of the conspiracy . . . or to

 state such object with the detail which would be required in an indictment for committing

 the substantive offense[.] In charging such a conspiracy ‘certainty to a common intent,

 sufficient to identify the offense which the defendants conspired to commit, is all that is

 necessary.’”) And see United States v. Anderson, 605 F.3d 404, 411 (6th Cir. 2010)

 (finding that an indictment was sufficient when it tracked the statutory language and stated

 a time frame.).

        Here, the Court DENIES the motion to dismiss Count Three. The indictment contains

 the elements of the conspiracy charge and informs the defendants of the charges against

 which they must defend.       The indictment further alleges what Defendants allegedly

 conspired to do–possess with intent to distribute, and distribute controlled substances. The

 indictment shows what Defendants are charged with distributing–cocaine, marijuana, and

 heroin. And the indictment gives a reasonable time period, from 2008 to 2012. The

 indictment is sufficient without requiring further specification.

        Defendant Czach requests a bill of particulars to identify when and how he became

 involved in the conspiracy and when and with whom he agreed to commit an illegal act with

 regard to the distribution of cocaine, marijuana, and heroin.2


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    “A defendant may be indicted and convicted despite the names of his co-conspirators
 remaining unknown, as long as the government presents evidence to establish an

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      Federal Rule of Criminal Procedure 7(f) provides that a “court may direct the

 government to file a bill of particulars.” "The purposes of a bill of particulars are to inform

 the defendant of the nature of the charge against him with sufficient precision to enable him

 to prepare for trial, to avoid or minimize the danger of surprise at the time of trial, and to

 enable him to plead his acquittal or conviction in bar of another prosecution for the same

 offense when he indictment itself is too vague, and indefinite for such purposes.” United

 States v. Birmley, 529 F.2d 103, 108 (6th Cir. 1976)

      “A bill of particulars is meant ‘to minimize surprise and assist [the] defendant in

 obtaining the information needed to prepare a defense and to preclude a second

 prosecution for the same crimes. [It] is not meant as a tool for the defense to obtain

 detailed disclosure of all evidence held by the government before trial.’” United States v.

 Martini, 11-5592, 11-5888, 11-5893, 2013 WL 656258, at *20 (6th Cir. Feb. 25, 2013)

 (citation omitted) (holding that the defendant did not show that the lack of specificity in the

 indictment hindered him at trial when he received copies of numerous recorded

 conversations spanning a period of time such that he could not have been surprised when

 the government presented from various dates.).


 agreement between two or more persons, a prerequisite to obtaining a conspiracy
 conviction. As long as the indictment is valid, contains the elements of the offense, and
 gives notice to the defendant of the charges against him, it is not essential that a
 conspirator know all the other conspirators. ‘It is the grand jury’s statement of the
 ‘existence of the conspiracy agreement rather than the identify of those who agree’ which
 places the defendant on notice of the charge he must be prepared to meet.’” United States
 O’Neal, 08-107, 2008 WL 5435575, at *2 (E.D.Tenn. Dec. 30, 2008) (quoting United States
 v. Rey, 923 F.3d 1217, 1222) (6th Cir. 1991) (citations omitted)).
 Joinders:
 D-18, Martin Najjar [172]
 D-12, Kenneth Dwayne Jenkins [173]
 D-15, Reymoyne Thornton [184]

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      “A defendant is not entitled to a bill of particulars if the purpose of the bill is to obtain

 a list of the Government’s witnesses or to discover all of the overt acts that might be proven

 at trial.” United States v. Musick, 291 F.App’x 706 (6th Cir. 2008) (citations omitted). “Nor

 is the Government required to furnish the names of all other co-conspirators.” Id. (citations

 omitted).

      The Government opposes Defendants’ motions for bills of particulars. (Gov’t’s Resp.

 at 2.) The Government argues that case law shows that Defendants cannot use a bill of

 particulars to obtain the information they have requested and that they cannot obtain a bill

 of particulars when the Government has produced complete and extensive discovery, as

 the Government states it has done. (Id.)

      The Court agrees with the Government. The Government has provided extensive

 discovery and Defendants, other than Defendant Thornton, has not provided a compelling

 reason/need for a bill of particulars.

      So ordered.


                              s/Nancy G. Edmunds
                              Nancy G. Edmunds
                              United States District Judge

 Dated: August 27, 2013

 I hereby certify that a copy of the foregoing document was served upon counsel of record
 on August 27, 2013, by electronic and/or ordinary mail.

                              s/Johnetta M. Curry-Williams
                              Case Manager
                              Acting in the Absence of Carol A. Hemeyer




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